Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Pagei of 71

Fill in this information to identify your case:

United States Bankruptcy Court for the:
District of Colorado

Case number (if known): Chapter you are filing under:
Chapter 7
Q) Chapter 11
Q) Chapter 12
) Chapter 13

 
 
  

PC Check if this is an
amended filing

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. !f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

aa identify Yourself

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your mee
government-issued picture Nadou WB LL .
identification (for example, First name First name
your driver's license or Biova
passport). Middle name Middle name
Lawson

Bring your picture
identification to your meeting Last name Last name
with the trustee.

 

 

 

 

 

 

 

 

 

 

 

Suffix (Sr., Jr., Ul, HD Suffix (Sr., Jr., 1, 11D
2. All other names you
have used in the last 8 First name "First name
years
Include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of ‘
your Social Security mx -xx-_ 0 4 3 7 OK TK Le
number or federal OR OR
Individual Taxpayer 9 9
Identification number XX XK XX — XK
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
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Debtor 1 Nadou

Biova

First Name Middle Name

Lawson

Last Name

Case number (known).

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

(4 | have not used any business names or EINs.

About Debtor 2 (Spouse Only in a Joint Case):

LJ | have not used any business names or EINs.

 

Business name

Business name

 

Business name

EIN”

EIN

Business name

EN”

EIN

 

5. Where you live

12088 East 1st Ave

Number Street

MBL

Apt 1004

Aurora CO 80012
City State ZIP Code

Arapahoe County
County

If your mailing address is different from the one
above, fili it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2 lives at a different address:

Number Street

 

 

City State ZIP Code

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O, Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

Yi over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

CU) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

LJ | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 2

 
Debtor 1

Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page3 of 71

Nadou

First Name

Biova

Middle Name

Lawson

Last Name

Case number (if known).

Ee Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

Official Form 101

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file r
under Chapter 7
C) Chapter 11
CL) Chapter 12
CL} Chapter 13
8. How you will pay the fee (1 | will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
U1 I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).
() | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9. Have you filed for (I No
bankruptcy within the non ; icy 9 Oe
last 8 years? @ ves. istrict { OOCAAlD When Olle il § Case number /€ 15g% j / °é dD
. MM/ DD/
Denve 08/5) - 8 9-228
District _+ a ms When H / Case number .
MM/ DD'/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy W No
cases pending or bein
filed by a spouse who 2 Li Yes. Debtor Relationship to you
not filing this case with District When Case number, if known,
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM /DD/YYYY
11. Do you rent your WI No. Go to line 12.
residence? C) Yes. Has your landlord obtained an eviction judgment against you?

No. Go to line 12.

LJ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

 

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 

 
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Debtor 1 Nadou

Biova

Lawson

Case number (if known)

 

First Name

Middie Name

Last Name

| Part 3: | Report About Any Businesses You Own as a Sole Proprietor

 

|
{

12. Are you a sole proprietor

1 No. Go to Part 4.

of any fuil- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

L) Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City State

Check the appropriate box to describe your business:

CJ Health Care Business (as defined in 11 U.S.C. § 101(27A))
C) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

CJ Stockbroker (as defined in 11 U.S.C. § 101(53A))
QO Commodity Broker (as defined in 11 U.S.C. § 101(6))
WU None of the above

ZIP Code

 

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of small

business debtor, see
11 U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

YW No. tam not filing under Chapter 11.

L) No. lam filing under Chapter 11, but |am NOT a small business debtor according to the definition in

the Bankruptcy Code.

CI) Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the

Bankruptcy Code.

ea Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

iA No
Cl Yes. What is the hazard?

 

 

If immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City

Voluntary Petition for Individuals Filing for Bankruptcy

State ZIP Code

page 4

 
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Debtor 4 Nadou

Biova

First Name Middle Name

Lawson

Last Name

Case number (if known)

eo Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

 

Official Form 101

About Debtor 1:

You must check one: You must check one:

About Debtor 2 (Spouse Only in a Joint Case):

I received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

L] | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but ! do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

} | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) | am not required to receive a briefing about

credit counseling because of:

L) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

L) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

LJ | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(C] i received a briefing from an approved credit

counseling agency within the 180 days before !
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

J | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) | am not required to receive a briefing about

credit counseling because of:

LJ incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(J Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

LJ Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 5

 

 
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Nadou

First Name

Debtor 1

Biova

Middie Name

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Lawson

Last Name

Case number (if known)

| Part 6: | Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

LI No. Go to line 16b.
1 Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

Wi No. Goto line 16c.
LJ Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

LJ No. 1am not filing under Chapter 7. Go to line 18.

W Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

estimate your assets to
be worth?

20. How much do you
estimate your liabilities

excluded and M No
administrative expenses
are paid that funds will be U Yes
available for distribution
to unsecured creditors?
48. How many creditorsdo 1-49 LI 4,000-5,000 L) 25,001-50,000
you estimate that you L) 50-99 C) 5,001-10,000 L) 50,001-100,000
owe? LJ 100-199 LJ 10,001-25,000 L) More than 100,000
CJ 200-999
19. How much do you © $0-$50,000 L} $1,000,001-$10 million L) $500,000,001-$1 billion

CL) $1,000,000,001-$10 billion
LL) $10,000,000,001-$50 billion

CJ $10,000,001-$50 million
CJ $50,000,001-$100 million

L) $50,001-$100,000
LJ $100,001-$500,000

 

LD $500,001-$1 million

 $0-$50,000
LI $50,001-$100,000

CI $100,000,001-$500 million

CL) $1,000,001-$10 million
OQ) $10,000,001-$50 million

CJ More than $50 billion

CI $500,000,001-$1 billion
O $1,000,000,001-$10 billion

 

to be? L) $100,001-$500,000 LI $50,000,001 -$100 million C) $10,000,000,001-$50 billion
L) $500,001-$1 million CY $100,000,001-$500 million C) More than $50 billion
Sign Below
| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

lf | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x oe x
Signature of Debtor 1 °

Executed on 06/26/2019
‘iM 7 DD TYYYY_

09-(q414

Signature of Debtor 2

 

 

Executed on

MM / DD /YYYY

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 6

 
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Nadou

Debtor 1

Biova

Lawson

Case number (it known),

 

First Name

Middle Name

Last Name

 

 

For your attorney, if you are
represented by one

If you are not represented
by an attorney, you do not
need to file this page.

Official Form 101

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

 

 

 

 

 

 

 

 

x Date
Signature of Attorney for Debtor MM / DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State
Voluntary Petition for Individuals Filing for Bankruptcy page 7

 
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Nadou

Debtor 1

Biova

Lawson

Case number (f known)

 

First Name

Middte Name

Last Name

 

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

C) No

if Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

L) No

id Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

LC) No
A Yes. Name of Person Monique Isreal Houston
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. I
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

  

 

 

 

Signature of Debtor 4 V

Date 06/26/2019
MM/DD /YYYY

Contact phone

 

Cell phone (303) 359-6032 NAL

 

Emailaddress lawestelle@yahoo.com

 

 

Signature of Debtor 2

Date
MM/ DD /YYYY

Contact phone

 

Cell phone

 

Email address

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 8

 
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Certificate Number: 15725-CO-CC-032979848

EAU RA

725-CO-CC-032979848

CERTIFICATE OF COUNSELING

I CERTIFY that on June 17, 2019, at 3:30 o'clock PM EDT, Nadou Lawson
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the District of Colorado, an individual [or group]
briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: June 17, 2019 By: /s/Orlando T Vargas
Name: Orlando T Vargas

Title: Issuer

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 

 

 

 

 

 
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Fill in this information to identify your case:

 

 

 

Debtor 4 Nadou Biova Lawson
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Colorado

Case number

(if known) CJ Check if this is an
amended filing

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

4. What is your current marital status?

CJ Married
a Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

W No

( Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2 |
: lived there lived there : |
| | |
L) same as Debtor 1 C] same as Debtor 1 i
From From
: Number Street Number Street ;
: To To :
City State ZIP Code City State ZIP Code
LJ same as Debtor 1 (J same as Debtor 1
From From
Number Street Number Street :
To To
City State ZIP Code City State ZIP Code

_ 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
: States and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No

CJ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106).

Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
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Debtor1  Nadou Biova

Lawson

 

First Name Middle Name

Last Name

Case number (if known)

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

Q No
Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2018 )
YYYY

For the calendar year before that:
(January 1 to December 31,2017 )
YYYY

ks oe
| Debtor 1 .

Sources of income
Check all that apply.

wi Wages, commissions,

bonuses, tips
L) Operating a business

wi Wages, commissions,
bonuses, tips

C) Operating a business

a Wages, commissions,
bonuses, tips

| Operating a business

Debtor 2 _

Gross income

(before deductions and
exclusions)

§ 18,483.00
¢ 41,676.00
¢___ 25,125.00

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Sources of income
Check all that apply.

QO Wages, commissions,
bonuses, tips

QO Operating a business

QO Wages, commissions,
bonuses, tips

Q) Operating a business

QO Wages, commissions,
bonuses, tips

QO Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

WW No
C) Yes. Fill in the details.

F
| Debtor.1

From January 1 of current year until
the date you filed for bankruptcy:

Sources of income
Describe below.

| Debtor 2

Gross income from
each source

(before deductions and
exclusions)

Sources of income
Describe below.

 

For last calendar year:

 

(January 1 to December 31,2018 _ )
YYYY

 

For the calendar year before that:
(January 1 to December 31,2017 _)
YYYY

Official Form 107

 

 

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Gross income

(before deductions and
exclusions)

Gross income from
each source

(before deductions and
exclusions)

page 2

 
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Debtor 1 Nadou Biova Lawson Case number (if known),

First Name Middle Name Last Name

 

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
CL) No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

LI No. Go to line 7.

C) Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

4 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Wi No. Go to line 7.

Q) Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
$ $ LJ Mortgage
Creditor's Name
Q) car

 

Number Street CI credit card

QO Loan repayment

 

QO Suppliers or vendors

 

 

 

City State ZIP Code Q) other
$ § QO Mortgage
Creditors Name
Q Car

 

Number Street LI credit cara

(3 Loan repayment

 

O Suppliers or vendors

 

 

 

City State ZIP Code CI other
$ $ Q Mortgage
Creditors Name
Q) car

C2) credit card

 

Number Street
U) Loan repayment

 

UO) Suppliers or vendors

CD other

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 
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Debtor1  Nadou Biova Lawson

Case number (if known)
First Name Middle Name Last Name

 

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

No

Cl Yes. List all payments to an insider.

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
Insiders Name
Number Street
City State ZIP Code
$ $

 

 

Insiders Name

 

Number Street

 

 

City State ZIP Code

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.
UW No
() Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still, Reason for this payment

payment paid owe Include creditor's name

 

 

 

 

 

 

$
insiders Name $
Number Street
City State ZIP Code
$ $.

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

 

 

 

 
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Debtor 1 Nadou Biova Lawson Case number (if known)

First Name Middie Name Last Name

 

 

Ez Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

UM No

CJ Yes. Fill in the details.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Sout Name C) Pending
CQ on appeal
Number Street O) conctuded
Case number
City State ZIP Code
Casetile, = Ci‘CsCSS Court Name Q Pending
on appeal
Number Street LY concluded
Case number
City State ZIP Code

 

 

| 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
i Check all that apply and fill in the details below.

No. Goto line 11.
C} Yes. Fill in the information below.

Describe the property Date Value of the property

 

Creditor's Name

 

Number Street Explain what happened

LJ Property was repossessed.

 

 

(J Property was foreclosed.
C1 Property was garnished.

 

City State ZIP Code a Property was attached, seized, or levied.

Describe the property Date Value of the property

 

 

Creditors Name

 

Number Street
Explain what happened

Property was repossessed.

 

Property was foreclosed.

 

Property was garnished.
City State ZIP Code roperty g

Coco

Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 

 
Debtor 1 Nadou Biova Lawson Case number (if known),

i
}

Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page1i5 of 71

First Name Middie Name Last Name

accounts or refuse to make a payment because you owed a debt?

No

C) Yes. Fill in the details.

 

| 41. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your

 

 

 

 

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

Wf No
UC) Yes

ae List Certain Gifts and Contributions

Describe the action the creditor took Date action Amount
was taken
Creditors Name
Number Street $
City State ZIP Code Last 4 digits of account number: XXXX—

 

 

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

@ No
C2 Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
- $
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
_ $
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person's relationship to you
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor 1 Nadou Biova Lawson Case number (if known),

First Name Middle Name Last Name

 

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

W No

CJ Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
: that total more than $600 contributed

 

Charity’s Name

 

 

Number Street

 

City State ZIP Code

List Certain Losses

15, Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

W No
| (2 Yes. Fill in the details.

 

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred . ae oo, loss lost
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

QO) No
@ Yes. Fill in the details.

 

 

 

 

 

 

. Description and value of any property transferred Date payment or Amount of payment
Monique isreal Houston transfer was
Person Who Was Paid . . a . . made
2993 S Peoria St Document Preparation
Number Street 06/08/2019 $ 125.00
$
Aurora CO 80014 |
City State ZIP Code |
|

distinctappointments@gmail.com
Email or website address

 

 

 

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 

 

 
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Debtor 1 Nadou Biova Lawson Case number (if known),
First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of

transfer was made payment

Debtor CC — ~

Person Who Was Paid Credit Counseling
06/17/2019 $ 14.95

Number Street

$

 

 

 

City State ZIP Code

debtorcc.org

Email or website address

 

 

Person Who Made the Payment, if Not You

 

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

No

C) Yes. Fill in the details.

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street §

 

 

— 3

City State ZIP Code

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

W No

CJ Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

 

 

 

City State ZIP Code

| Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 
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Debtor 1 Nadou Biova Lawson Case number (if known),

First Name Middle Name Last Name

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-profection devices.)

W@W No
CJ Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

W No

CI Yes. Fill in the details.

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, _ closing or transfer
or transferred
Name of Financia! Institution .
XXXX= QO) checking $
QO Savings

 

Number Street
QO Money market

 

Q Brokerage

 

 

 

City State ZIP Code | Other
XXXX— (2 checking $
Name of Financial Institution
O Savings
Number Street U Money market

QO Brokerage
C} other.

 

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
WW No
() Yes. Fill in the details.

 

 

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
QO) No
Name of Financial Institution Name OQ) Yes
|
Number Street Number Street |
|
City State ZIP Code 1
| |
coe coed

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 

 
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Debtor 1 Nadou Biova Lawson Case number (if known),
First Name Middle Name Last Name

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

Zi No

CU Yes. Fill in the details.

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
C) No
Name of Storage Facility Name QO Yes
Number Street Number Street

 

CityState ZIP Code

 

City State ZIP Code

Cr Identify Property You Hold or Control for Someone Elise

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
a No
Q) Yes. Fill in the details.
Where is the property? Describe the property Value

 

Owner's Name

 

Numb Street
Number Street

 

 

 

 

 

City State ZIP Code
City State ZiP Code coe nn nine

Part 10: Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

| @ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
: hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 

= Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, poilutant, contaminant, or similar term.

 

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

UW No

Cl Yes. Fill in the details.

 

 

i Governmental unit Environmental! law, if you know it Date of notice
| |

Name of site Governmental unit

Number Street Number Street

City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 

 
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Nadou Biova Lawson

First Name Middle Name Last Name

Debtor 1

 

25.Have you notified any governmental unit of any release of hazardous material?

WwW No
| (2 Yes. Fill in the details.

Governmental unit
|

 

Name of site Governmental unit

Case number (if known),

Environmental faw, if you know it

Page20 of 71

Date of notice

 

 

Number Street Number Street

 

City State ZIP Code

 

City State ZIP Code

 

 

 

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

W No
CJ Yes. Fill in the details.
Court or agency Nature of the case Status of the
| i
i i
Case title | |
Court Name | O Pending .
| (2 on appeal
Number Street | Q Concluded
Case number City State ZipCode

Give Details About Your Business or Connections to Any Business

 

C2 A member of a limited liability company (LLC) or limited liability partnership (LLP)
OA partner in a partnership ‘
QO An officer, director, or managing executive of a corporation

U An owner of at least 5% of the voting or equity securities of a corporation
No. None of the above applies. Go to Part 12.

CQ Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business

 

Business Name

 

Number Street a
Name of accountant or bookkeeper

 

 

 

 

 

 

City State ZIP Code

Describe the nature of the business
Business Name
Number Street

Name of accountant or bookkeeper
City State ZIP Code

 

 

Official Form 107

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QO Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

Employer Identification number

_ Do not include Social Security number or ITIN.

EIN: -

Dates business existed

From To

Employer Identification number
Do not include Social Security number or ITIN.

EIN: -

Dates business existed

From To

page 11

 

 
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Debtor 1 Nadou Biova Lawson Case. number (i known)

First Name Middle Name Last Name

Employer Identification number
Do not include Social Security number or ITIN.

Describe the nature of the business

 

 

 

 

 

 

Business Name
EIN;
treet 1 tan i i
Number Stree Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

W No

CJ Yes. Fill in the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x hae) x

 

Signature of Debtor 1 4 Signature of Debtor 2

Date 06/26/2019 Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
W no
C) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

L} No

W Yes. Name of person Distinct Document /Monique Isreal Houston . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
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Fill in this information to identify your case:

 

 

 

 

Debtor 4 Nadou Biova Lawson
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Colorado

Case number L) Check if this is an
{IF known) amended filing

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out ali of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

| Part 1: Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

ta. Copy line 55, Total real estate, from SCHEQUIC A/B occ cece sssneceesenenecsceectensaecaeesceseansecseoensassensnseeensseseeevsseaneaseane § __0.00
1b. Copy line 62, Total personal property, from Schedule A/B oo... ccc cess esetene scents eecesrseeseneseneeseseneniseneanisetentige $ 410.00
1c. Copy line 63, Total of all property on Schedule AB Cee cece acca a see ccenee cee csecnnet nee eencenceaseatcodeeeeceasercercedeadsencasceseraasaeawanesensa $ 410.00

 

 

 

| Part 2: | Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ ___ 19,000.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) unknown

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F 0... ccccccecseeeeeeteeeenes $

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F oes eects + 5 172,483.00

Your total liabilities $ 191,483.00
Summarize Your Income and Expenses

4. Schedule I: Your Income (Official Form 1061) 2602.15

Copy your combined monthly income from line 12 Of SCheduUle Iau... ccc eeccce eee cenenseneeeanessesesensrecsecenesseseeaseeetreteatne $__ “ns "~
5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22 Of SCHECUIC Jo. eetetceteceeeseteerecnersenssserseneenesersenteesennanereeenesavseeeeteetaerees $ ___ 2,342.00

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
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Debtor 4 Nadou Biova Lawson Case number (if known)

First Name Middle Name Last Name

| Part 4: | Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

Yes

7. What kind of debt do you have?

this form to the court with your other schedules.

CJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

 

 

 

 

 

 

 

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 3,094.73
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) s__ Ci.

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) sO.

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) gs «0.00

9d. Student loans. (Copy line 6f.) s___ 86,041.00

9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.) TTT
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 86,041.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
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Fill in this information to identify your case and this filing:

Nadou Biova Lawson
First Name Middle Name Last Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of Colorado

Case number

 

L) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property . 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

| Part 4: | Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

No. Go to Part 2.
L] Yes. Where is the property?

 

i ?
What Is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

L) Single-family home the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

 

 

 

44. nit buildi
Street address, if available, or other description OI duplex or mult unit buliding
C1 Condominium or cooperative Current value of the Current value of the
C) Manufactured or mobile home entire property? portion you own?
LJ Land $ $
C) investment property
_ CJ timeshare Describe the nature of your ownership
City State ZIP Code OD oth interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.
L} Debtor 1 only
County L) Debtor 2 only
LL) Debtor 1 and Debtor 2 only
() At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

 

CU) Check if this is community property
(see instructions)

 

 

If you own or have more than one, list here:

i 2
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

Q Single-family home the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

 

 

 

1.2. iamit buildi

Street address, if available, or other description Duplex or mult unit building ;
CL Condominium or cooperative Current value of the Current value of the |
CJ Manufactured or mobile home entire property? portion you own?
L} Land $ $ :
L) Investment property :
: Describe the nature of your ownership

City State ZIP Code U) Timeshare interest (such as fee simple, tenancy by

QQ other the entireties, or a life estate), if known.

 

 

Who has an interest in the property? Check one.

C) Debtor 4 only

L) Debtor 2 only

() Debtor 4 and Debtor 2 only C1) Check if this is community property
C) At feast one of the debtors and another (see instructions)

 

County

Other information you wish to add about this item, such as local
property identification number:

 

 

Official Form 106A/B Schedule A/B: Property page 1
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Debtor 1 Nadou Biova Lawson Case number (i known).
First Name Middle Name Last Name
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
i fami the amount of any secured claims on Schedule D:
4.3. u Single-family home Creditors Who Have Claims Secured by Property.
Street address, if available; or other description Q Duplex or multi-unit building :
O Condominium or cooperative Current value of the Current value of the |
; entire property? portion you own?
CL Manufactured or mobile home
CJ Landa $ $
CJ investment property
City State Zip code) Timeshare Describe the nature of your ownership
Q interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.

 

 

Who has an interest in the property? Check one.
L} Debtor 1 only

 

 

 

County L) Debtor 2 only
CJ Debtor 1 and Debtor 2 only ) Check if this is community property
C) At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 0.00
you have attached for Part 1. Write that number here. ............ccccceccescee eset e eee eee eee ene ne ne eee eee DEE SE ce Ee EO aS eeE Ose eH SE EEENE » TY

 

 

ea Describe Your Vehicles

‘Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

O) No
Wf Yes
31. Make: Mitsubishi Who has an interest in the property? Check one. 9 not deduct secured claims or exemptions. Put
v] the amount of any secured claims on Schedule D:
Model: Outlander Debtor 1 only Creditors Who Have Claims Secured by Property.
Debtor 2 only
Year: 2018 C) Debtor 1 and Debtor 2 only Current value of the Current value of the
Approximate mileage: 4000K (} At least one of the debtors and another entire property? Portion you own?
Other information: 45.249.00 0.00.
(] Check if this is community property (see $. _—__— § nn |
instructions)

 

 

 

If you own or have more than one, describe here:

 

 

32. Make: Who has an interest in the property? Check one. —_ Dg not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: Q) Debtor 1 only Creditors Who Have Claims Secured by Property.
L} Debtor 2 only :
Year: QO Debtor 1 and Debtor 2 only Current value of the Current value of the |
: : . entire property? ortion you own?
Approximate mileage: (J) At least one of the debtors and another P y
Other information:
$. $.

 

C) Check if this is community property (see
instructions)

 

 

 

Official Form 106A/B Schedule A/B: Property page 2

 

 

 
 

Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page26 of 71

Debtor 1 Nadou Biova

First Name Middle Name

3.3. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
L) Yes

4.41, Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

 

 

 

 

Lawson Case number (f known)

Who has an interest in the property? Check one.

Q) Debtor 4 only

C2) Debtor 2 only

LI} Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

L) Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

L) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

L] At least one of the debtors and another

L] Check if this is community property (see
instructions)

Creditors Who Have Claims Secured by Property.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D-

Current value of the Current value of the
entire property? portion you own?

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion youown?

  

 

 

 

4.2. Make: Who has an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: 4 Debtor 1 only Creditors Who Have Claims Secured by Property.
Debtor 2 only 8 : i
Year: i
C) Debtor 1 and Debtor 2 only current value of the Current value of the i
Other information: CJ At least one of the debtors and another Proper’ P y :
C) Check if this is community property (see $ $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 5 0.00
you have attached for Part 2. Write that mummber here o.oo. cece cesesseesessesesseseesessessesesseaesnssnssesscassususauesssscsesneenesusensansneenenneneaes > ~—_
Official Form 106A/B Schedule A/B: Property page 3

 

 
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Debtor 1 Nadou Biova Lawson Case number (known)

 

 

First Name Middle Name Last Name

| art 3: | Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

Wi No

Current value of the
portion you own?

Do not deduct secured claims |
or exemptions. :

 

CL) Yes. Describe.........

 

$ 0.00

 

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

i No
C) Yes. Describe.......... | |

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

i No
LOD Yes. Give specific
information. ......0..

 

LJ No
id Yes. Describe.......... 1 cell, 1 Laptop $ 300.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
Wd No
CJ Yes. Describe.......... $ 0.00
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
Wi No
QO] Yes. Describe.......... $ 0.00
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
iJ No _
C2 Yes. Describe.......... $ 0.00
11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
CJ No
Yes. Describe.......... | 2 coats, 10 shirts, 10 pants, 5 pr shoes, 3 dresses $ 100.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
= — : 0.00.
id Yes. Describe........ le earrings, 2 bracelets, 2 necklaces, 1 watch, 2 rings $ —

§ 0.00

ls 0.00

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here ooo... cceeese tc eennssssesseseepenuinssceenssnnsssnsuusssnenssusussasoseeseeeeesenssassnsseneusnassennseeernaeesanst >

 

s____— 400.00.

 

Official Form 106A/B Schedule A/B: Property

page 4

 

 
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Debtor 1 Nadou Biova Lawson Case number (if known)
First Name Middle Name Last Name
aa Describe Your Financial Assets
' Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
4 No
QO YOS occcccscccccccscescescescnsssscsssscesssssssecsseuscsessasssessacsacssenesassesassacsceaecessassasseenssssaeacessesaessavesseestsaesateesessonsaeeetetsas CASH. coccccccccccceccececeee $ 0.00
17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
L) No
W Yes Institution name:
17.1. Checking account: Keybank $ 10.00
17.2. Checking account: $ 0.00
17.3. Savings account: $ 0.00
17.4. Savings account: $ 0.00
17.5. Certificates of deposit: $ 0.00
17.6, Other financial account: $ 0.00
17.7. Other financial account: $ 0.00
17.8. Other financial account: $ 0.00
17.9. Other financial account: $ 0.00

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No
CD Yes ven Institution or issuer name:

 

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

No Name of entity: % of ownership:
C} Yes. Give specific 0% %
information about 0
THEM... eeeeeeeeeeeeee 0% %
0% %

 

 

Official Form 106A/B Schedule A/B: Property page 5

 

 

 
 

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Debtor 1 Nadou Biova Lawson Case number (if known).

 

 

First Name Middie Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
CJ) Yes. Give specific Issuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them... een $
$
$
21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
OI No
WW Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan; VY VY noo’ $ UMNMe
Pension plan: $
IRA: $ i
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22.Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
4 No
LD YOS oes Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
i Issuer name and description:
$
$
Official Form 106A/B Schedule A/B: Property page 6
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Debtor 1 Nadou Biova Lawson Case number (known).

First Name Middle Name Last Name

 

24, Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

es Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

W No

L) Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

WY No

L} Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

 

WY no
LI Yes. Give specific
information about them.... $

 

 

 

i Money or property owed to you? Current value of the
i portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

 

No .

(J Yes. Give specific information Federal:
about them, including whether
you already filed the returns . State:

and the tax years. oe
Local:

 

 

29. Family support
' Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

WY No

CL) Yes. Give specific information..............

 

 

Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
No
L) Yes. Give specific information............... EEE 7 ;

 

 

 

Official Form 106A/B Schedule A/B: Property page 7

 

 

 

 

 
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Debtor 1 Nadou Biova Lawson Case number (known).

First Name Middle Name Last Name

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

WY No

CL} Yes. Name the insurance company — Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

 

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

Wd No

CI Yes. Give specific information..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

i4 No

CL} Yes. Describe each claim. occ.

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

4 No

CJ Yes. Describe each claim. 0.00...

 

 

 

 

35. Any financial assets you did not already list

WJ No

L) Yes. Give specific information........... $

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that NUMbEr HELE oo... cccccccecsccssssssssesscssesecsssseessssssscesssseesssussssssessssssseesssssssssusetecsessvetesssusecrusvecsessssesssecsessivees > $ 10.00

 

 

Coa Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
id No. Go to Part 6.
| ( Yes. Go to line 38.

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

_ 38.Accounts receivable or commissions you already earned

4 No —
() Yes. Describe.......

 

 

 

 

 

_ 39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
4 No . te cas a ne ao a
L) Yes. Describe...... k

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 8
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Debtor 1 Nadou Biova Lawson Case number (it known)

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First Name Middie Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

W No

 

C} Yes. Describe.......

 

 

 

41.Inventory

Wf No

 

CJ Yes. Describe.......

 

42. Interests in partnerships or joint ventures

W No

%
%
%

 

 

 

43. Customer lists, mailing lists, or other compilations
ld No
LI Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

4 No

L) Yes. Describe....... Name of entity: % of ownership:

 

LI Yes. Describe........

 

 

44. Any business-related property you did not already list
ld No

LI) Yes. Give specific
information .........

 

 

 

 

 

 

45, Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.

If you own or have an interest in farmland, list it in Part 1.

for Part 5. Write that number here occ ccccccecceecssesccsscsssessessessvessucssvsssssesasessssecsssssssssassssssssussssersessesssevesssessunesessuseesssetesns >

Pf FP FH Ff Ff HF

 

 

$ 0.00

 

 

|

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

Wf No. Go to Part 7.
(2) Yes. Go to line 47.

| 47, Farm animals
Examples: Livestock, poultry, farm-raised fish

Wf No

 

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

page 9

 
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:
Debtor 1 Nadou Biova Lawson Case number (if known)

 

First Name Middle Name Last Name

48, Crops—either growing or harvested

No
C) Yes. Give specific
information. ............

 

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49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

Wi No

 

 

 

 

 

 

 

 

51.Any farm- and commercial fishing-related property you did not already list

YW No

 

LI Yes. Give specific
information. ............

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

| 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here oo. esesteeeesesseeenenrsneeessnesessesssseearsnenteaneereanenensees

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

No
L) Yes. Give specific
information. ............

 

 

List the Totals of Each Part of this Form

54. Add the dollar value of all of your entries from Part 7. Write that number here ...............

 

 

0.00

 

 

 

0.00

 

 

56. Part 2: Total vehicles, line 5 $
57. Part 3: Total personal and household items, line 15 $
58. Part 4: Total financial assets, line 36 $
59. Part 5: Total business-related property, line 45

' 60. Part 6: Total farm- and fishing-related property, line 52 $

55. Part 1: Total real estate, Hne@ 2 oo. cccsecsesessceescscesecsresesecessessvsesesscsessveeceresentresssrsacseess

61.Part 7: Total other property not listed, line 54 +3 0.00

 

 

 

62. Total personal property. Add lines 56 through 61. ............ ee

i

63. Total of all property on Schedule A/B. Add line 55 + line 62.0.0... ee scecesteceteetseeceeenenene

Official Form 106A/B Schedule A/B: Property

$ 410.00

 

Copy personal property total =>

+3

0.00

410.00

 

 

410.00

 

page 10

 

 

 

 
Entered:07/19/19 16:16:11

Case:19-16213-EEB Doc#:2 Filed:07/19/19

Fill in this information to identify your case:

 

Lawson

Last Name

Biova
Middle Name

Nadou

First Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: District of Colorado

Case number
(If known}

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt

Page34 of 71

CJ Check if this is an
amended filing

04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write

your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in doliar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption

would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

wf You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
(2 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Current value of the Amount of the exemption you claim

portion you own

Brief description of the property and line on
Schedule A/B that lists this property

Copy the value from Check only one box for each exemption.

 

 

 

 

Schedule A/B

description,  MotorVehicle ___ 5 Os
Line from 100% of fair market value, up to
Schedule A/B: 3.1 any applicable statutory limit
description: Electronics $300.00 ™ s 300.00

: C) 100% of fair market value up to
Line fi Z ,
Schedule AB: any applicable statutory limit
description, Clothes $100.00 Ms 100.00
Line from L) 100% of fair market value, up to

Schedule A/B: 14 any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

UY No

CL) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

W No
LC} Yes

Official Form 106C Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

- 13-54-102())(I)

- 13-54-102(1)(e)

13-54-102(1)(a)

page 1 of___
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page35 of 71

Debtor 1 Nadou Biova

Middle Name Last Name

First Name

Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Lawson Case number (if known),

Current value of the § Amount of the exemption you claim Specific laws that allow exemption
portion you own

 

 

 

 

Copy the value from Check only one box for each exemption
Schedule A/B
Jewelry $ 0.00 Gs 0.00 13-84-102(1){b)
42 C) 100% of fair market value, up to
_—_ any applicable statutory limit
401 K $ Os 13-54-102(1)(s)
Gd 100% of fair market value, up to
21 any applicable statutory limit

Wages
17

§ Ms 13-54-104

LJ 100% of fair market value, up to
any applicable statutory limit

§ Os
C) 100% of fair market value, up to
any applicable statutory limit

$ Os

LJ 100% of fair market value, up to
any applicable statutory limit

$ Ls
CJ 100% of fair market value, up to
any applicable statutory limit

$ Os
CI 100% of fair market value, up to
any applicable statutory limit

$ Lg

LJ 100% of fair market value, up to
any applicable statutory limit

$ Ls
L) 100% of fair market value, up to
any applicable statutory limit

$ Us

CJ 100% of fair market value, up to
any applicable statutory limit

$ Os
(1 100% of fair market value, up to
any applicable statutory limit

$ Os
LJ 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt page 2 of __
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page36 of 71

Fill in this information to identify your case:

 

 

 

Debtor 4 Nadou Biova Lawson
First Name Middie Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Colorado

Case number
(If known)

 

C) Check if this is an

 

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

12/15

 

1. Do any creditors have claims secured by your property?
L] No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
W Yes. Fill in all of the information below.

 

oko List All Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column A Column B Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately. amount ofclaim _ Value of collateral. Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part2. 1, not deduct the ‘that supports this portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim if any
[ 2.1] Avid Acceptance Describe the property that secures the claim: $ 19,000.00 $ 19,000.00 $ 0.00
Creditors Name
6995 Union Park Center 2018 Mitsubishi Outlander 4000K
Number Street
As of the date you file, the claim is: Check all that apply.
: , QO Contingent
Cottonwood Heights UT 84047 q Unliquidated
City State ZIP Code O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
(Debtor 4 only (4 An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
U Debtor 1 and Debtor 2 only QQ Statutory lien (such as tax lien, mechanic’s lien)
C) Atleast one of the debtors and another C) Judgment lien from a lawsuit
C) other (including a right to offset)
(1 Check if this claim relates to a
community debt
Date debt was incurred 12/23/2018 Last 4 digits of account number _O 0 Oo 0
| 2.2] Describe the property that secures the claim: $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
C1 unliquidated
City State ZIP Code QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
QQ Debtor 1 only LJ An agreement you made (such as mortgage or secured
U Debtor 2 only car loan)
C) Debtor 4 and Debtor 2 only 1 Statutory lien (such as tax lien, mechanic’s lien)
O Atleast one of the debtors and another LD Judgment lien from a lawsuit
C) other (including a right to offset)
O) Check if this claim relates to a
community debt
__Date debt was incurred __— Last4 digits ofaccountnumber ;
Add the dollar value of your entries in Column A on this page. Write that number here: f____19.000.00 |
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1of_
Entered:07/19/19 16:16:11

Case:19-16213-EEB Doc#:2 Filed:07/19/19 Page37 of 71

Fill in this information to identify your case:

Lawson

Last Name

Biova
Middle Name

Nadou

First Name

Debtor 1

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: District of Colorado

LJ Check if this is an

Case number amended filing

{If known)

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. \f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

 

 

12/15

} Part 1: | List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

CL} No. Go to Part 2.
A ves.

 

 

 

 

 

 

2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. if you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

"Total claim Priority Nonpriority
amount amount
2.1
INTERNAL REVENUE SERVICE Last 4 digits of accountnumber_0 0 0 0 §& $ $
nority Creditors Name
PO BOX 7346 When was the debt incurred?
Number Street -
s of the date you file, the claim is: Check all that apply.
PHILADELPHIA, PA 19101 AS of the date you file, the olaim is: Check ath |
City State ZIP Code U) Contingent
Q) Unliquidated

Who incurred the debt? Check one. 2 Disputed
id Debtor 1 only
Q) Debtor 2 only Type of PRIORITY unsecured claim:
C1 Debtor 1 and Debtor 2 only C) Domestic support obligations
Q Atleast one of the debtors and another wZ ;

Taxes and certain other debts you owe the government
Q) Check if this claim is for a community debt LJ Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated ky
O No () other. Specify UW) noun
) Yes _. a

2.2 | COLORADO DEPARTMENT OF RE Last 4 digits of account number 0 0 Oo 0 $ $ $
Priority Creditors Name
1375 SHERMAN STREET When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
DENVER, CO_ 80261 C1 Contingent
City State ZIP Code O Unliquidatea
Who incurred the debt? Check one. Q) Disputed
ia sept 3 ad Type of PRIORITY unsecured claim:
ebtor 2 only OQ . on

D ti ti
C) Debtor 1 and Debtor 2 only a omese support obligations
(2 At least one of the debtors and another O Taxes and certain other debts you owe the government

Claims for death I inj hil
C) Check if this claim is for a community debt intoxicated Gath OF personal injury wile you were

' s
is the claim subject to offset? CJ Other. Specify un kno)
LI No .
QO Yes .
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page1of_

 
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Biova Lawson

Last Name

Nadou

First Name

Debtor 1 Case number (i known),

Middle Name

List All of Your NONPRIORITY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?

LI No. You have nothing to report in this part. Submit this form to the court with your other schedules.

lid Yes

1

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one

nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

Total claim
ks] AARGON COLLECTION AGEN Last 4 digits of account number _O- 0 0 Oo 70.00
Nonpriority Creditors Name $Y
8668 SPRING MOUNTAIN RD When was the debt incurred? 01/01/2001
Number Street
LAS VEGAS, NV 89117
City State ZIP Code As of the date you file, the claim is: Check all that apply.
OQ Contingent
Who incurred the debt? Check one. LL) Untiquidated
id Debtor 1 only O Disputed
CJ Debtor 2 only
Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
( Atleast one of the debtors and another O Student loans
CI Check if this claim is fora community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? L} Debts to pension or profit-sharing plans, and other similar debts
QO No & other. Specify COLLECTION
OC) Yes
2 | AD ASTRA RECOVERY SERV Last 4 digits of account number_ 0 0 0 0 $ 538.00
Nonpriority Creditors Name When was the debt incurred? 10/01/2016
7330 W 33RD STN STE 118
Number Street
WICHITA. KS 67205 As of the date you file, the claim is: Check all that apply.
+
City State ZIP Code Q Contingent
Who incurred the debt? Check one. (J Unliquidated
Debtor 1 only QO Disputed
O) Debtor 2 only |
Q Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
U) At least one of the debtors and another (2 Student loans
oa oo. . QQ) Obligations arising out of a separation agreement or divorce
QO) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? LI Debts to pension or profit-sharing plans, and other similar debts
O No &@ other. Specify COLLECTION
CO) Yes
a3 | AFNI Last 4 digits of accountnumber_ 0 0 0 0 4291.00
Nonpriority Creditors Name . 06/06/2016 $ave’
When was the debt incurred?
PO BOX 3068
Number Street
BLOOMINGTON, IL 61702 . _.
Gly Sale TP Code As of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. Q Contingent
Q Untiquidated
ld Debtor 1 only :
Q Disputed
U2 Debtor 2 only
U1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
LJ At least one of the debtors and another
LI Student loans
C) Check if this claim is for a community debt C) Obligations arising out of a separation agreement or divorce
. . that you did not report as priority claims
Is the cl to offset?
oO Ni claim subject to offset C) Debts to pension or profit-sharing plans, and other similar debts
° & other. Specify COLLECTION
U) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _of__

 

 

 

 

 
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Debtor 4 Nadou Biova Lawson

First Name Middle Name Last Name

Case number (f known),

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

Total claim

 

 

 

 

 

 

 

 

 

CAREPOINTER PHYSICISANS Last 4 digits of account number Oo oO 0. O° $ 1,168.00
Nonpriority Creditors Name 04 i 0, /201 7
When was the debt incurred?
PO BOX 172328
Number Street
hi file, the claim is: that .
DENVER, CO 80217 As of the date you file, the claim is: Check all that apply
City State ZIP Code Q) Contingent
L) Unliquidated
Who incurred the debt? Check one. OQ) Disputed
ld Debtor 1 only
CD Debtor 2 only Type of NONPRIORITY unsecured claim:
CY Debtor 1 and Debtor 2 only O) Student foans
C) Atleast one of the debtors and another LJ Obligations arising out of a separation agreement or divorce that
O) Check if this claim is for a community debt you did not report as Priority claims —
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? © other. Specify COLLECTIONS
UL) No
() Yes
ALLIANCEONE Last 4 digits of accountnumber O O O O- ¢_2,727.00
Nonpriority Creditors Name {
When was the debt incurred? 0/06/2017
PO BOX 3111 __
Number Street
As of the date you file, the claim is: Check all that apply.
SOUTHEASTERN, PA 19398 ¥ PP
City State ZIP Code (2 Contingent
L) Unliquidated
Who incurred the debt? Check one. OQ) disputed
lf Debtor 4 only
U) Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only 2 student loans
Cd Atleast one of the debtors and another U Obligations arising out of a separation agreement or divorce that
U Check if this claim is for a community debt you did not report as Priority claims
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specity COLLECTION
C) No
U) Yes
0000 323,804.00
AMERICAN HONDA FINANCE Last 4 digits of account number YY UY NM
Nonpriority Creditors Name
When was the debt incurred? 04/17/2015
3625 WEST ROYAL LANE
Number Street
As of the date you file, the claim is: Check all that apply.
IRVING, TX 75063 y pe
City State ZIP Code Q Contingent
QO) unliquidated
Who incurred the debt? Check one. O) Disputed
@ Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only QO Student loans
C1 Atleast one of the debtors and another LU Obligations arising out of a separation agreement or divorce that
Q) Check if this claim is for a community debt you did not report as priority claims —
(J Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specity AUTO
UO) No
LI Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _of_

 

 

 
Debtor 1

List All of Your NONPRIORITY Unsecured Claims

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Nadou Biova

Lawson

 

First Name Middle Name Last Name

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Case number (if known),

 

3. Do any creditors have nonpriority unsecured claims against you?

LI No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one

nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

| Total claim
[_] AMSHER COLLECTION Svcs Last digits of account number 0 0 0 0 3,660.00
Nonpriority Creditors Name see
4524 SOUTHLAKE PKWY STE When was the debt incurred? 06/15/2017
Number Street
HOOVER, AL 35244
City State ZIP Code As of the date you file, the claim is: Check all that apply.
Q Contingent
Who incurred the debt? Check one. ) Unliquidated
Debtor 1 only OQ Disputed
C2 Debtor 2 only
QQ Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(C) At least one of the debtors and another C) Student loans
C) Check if this claim is fora community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? U Debts to pension or profit-sharing plans, and other similar debts
U1 No © other. Specify COLLECTION
OC) Yes
a2 | ALLSTATE/ROB MATHES Last 4 digits of account number 0 0 0 0 § 107.00
Nonpriority Creditors Name When was the debt incurred? 04/11/2018
1450 S HAVANA #308
Number Street
AURORA, CO 80012 As of the date you file, the claim is: Check ail that apply.
City State ZIP Code gO Contingent
Who incurred the debt? Check one. CD Unliquidated
@ Debtor 4 only QO Disputed
OQ) Debtor 2 only .
O] Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CO Atleast one of the debtors and another Q) Student loans
sens oo. . C) Obligations arising out of a separation agreement or divorce
C) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? (C] Debts to pension or profit-sharing plans, and other similar debts
QO No & other. Specify COLLECTION
QO) Yes
43 BONDED BUSINESS SERVICES, LTD Last 4 digits of account number _0 _0 _0 _0 933 00
Nonpriority Creditors Name . 08/15/2016 $I
When was the debt incurred?
PO BOX 9017
Number Street
Boer, CO 80301 State FP Gods As of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. Q Contingent
Q Unliquidated
ff Debtor 1 only O bp:
Disputed
LI) Debtor 2 only
Cd Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
U At least one of the debtors and another
Q) Student loans
OQ) Check if this claim is for a community debt O) Obligations arising out of a separation agreement or divorce
. . that you did not report as priority claims
Is the cl ffset?
O ve claim subject to offset U1 Debts to pension or profit-sharing plans, and other similar debts
° iY other. Specify COLLECTION
) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page ___ of

 

 

 

 

 

 

 

 
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Debtor1  Nadou Biova Lawson

 

First Name Middie Name Last Name

Eo Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

Case number (i known),

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
BUDGET CONTROL SVCS IN Last 4 digits of accountnumber 0 O O O- $ 320.00
Nonpriority Creditor's Name 42 / 5, /201 6

Wh hi i ?
2950 S JAMAICA CT STE 20 en was the debt Incurred? <<"
Number Street
As of th fi laim is: t .
AURORA, CO 80014 s of the date you file, the claim is: Check all that apply.
City State ZIP Code CY Contingent
CJ Unliquidated
Who incurred the debt? Check one. O Disputed
a Debtor 1 only
O) Debtor 2 only Type of NONPRIORITY unsecured claim:
CY Debtor 4 and Debtor 2 only O Student loans
C0 At teast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
CJ Check if this claim is for a community debt you did not report as priority claims as
LI Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? @ other. Specity COLLECTIONS
O) No
QO Yes
|| CAPITAL ONE Last 4 digits of account number 0 0. oO 0 $ 2,726.00
Nonpriority Creditor's Name
When was the debt incurred? 07/01/2014
15000 CAPITAL ONE DR
Number Street
As of the dat file, the claim is: Check all that apply.
RICHMOND, VA 23238 © care youws mise hase anew eee
City State ZIP Code CQ Contingent
() unliquidated
Who incurred the debt? Check one. O Disputed
if Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ Debtor 1 and Debtor 2 only (2 Student loans
C1) Atleast one of the debtors and another O) Obligations arising out of a separation agreement or divorce that
U) Check if this claim is for a community debt you did not report as priority claims os
(Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specity COLLECTION
Ql No
CJ Yes
| 0000 184.00
CENTURY LINK Last 4 digits ofaccountnumber Vo UO U OU
Nonpriority Creditors Name \
When was the debt incurred? 05/02/2017
PO BOX 91155
Number Street
As of the date you file, the claim is: Check all that ly.
SEATTLE, WA 98111 y sen esawepey
City State ZIP Code Q Contingent
(2 Unliquidated
Who incurred the debt? Check one. Q disputed
bd Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
(C} Debtor 1 and Debtor 2 only QO student loans
O) Atteast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims _,
CL) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Wf other. Specity COLLECTION
C} No
C) Yes
Schedule E/F: Creditors Who Have Unsecured Claims page of__

 

 

 
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Debtor1  Nadou Biova Lawson

 

First Name Middle Name Last Name

List All of Your NONPRIORITY Unsecured Claims

Case number (if known).

 

Yes

claims fill out the Continuation Page of Part 2.

3. Do any creditors have nonpriority unsecured claims against you?
C4 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

 

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each ciaim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

i

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name

PO BOX 372730

 

Number Street

DENVER, CO 80237

 

City State ZIP Code

Who incurred the debt? Check one.

ef Debtor 1 only

U2 Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(CJ At least one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?
QO No
Q Yes

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__of__

| , Total. claim
ke] CREDIT ONE BANK NA Last 4 digits of account number _0. 0 Oo 0 184 00
Nonpriority Creditors Name nc
PO BOX 98875 When was the debt incurred? 05/02/2017
Number Street
LAS VEGAS, NV 89193
City State ZIP Code As of the date you file, the claim is: Check ail that apply.
CJ] Contingent
Who incurred the debt? Check one. (J Unliquidated
Debtor 1 only QO Disputed
(2 Debtor 2 only
Cl Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
UL) Atleast one of the debtors and another QO Student loans
( Check if this claim is for a community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? CD Debts to pension or profit-sharing plans, and other similar debts
U1 No © other. specity COLLECTION
C) Yes
4.2 CREDENCE Last 4 digits of account number _0 0 me 0 g____— 3,661.00.
Nonpriority Creditors Name When was the debt incurred? 01/04/2018
17000 DALLAS PARKWAY STE 204
Number Street -
DALLAS. TX 75248 As of the date you file, the claim is: Check all that apply.
1
City State ZIP Code gO Contingent
Who incurred the debt? Check one. CQ] unliquidated
i Debtor 4 only Q Disputed
U) Debtor 2 only :
O) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(C2 Atleast one of the debtors and another Q) Student loans
ae . | () Obligations arising out of a separation agreement or divorce
O Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? U) Debts to pension or profit-sharing plans, and other similar debts
QO) No Wf other. Specify COLLECTION
Cl Yes
a3 | SAINT JOSEPH HOSPITAL Last 4 digits of account number 0 0 0 _0. $ 564.00

When was the debt incurred? 12/14/2012

As of the date you file, the claim is: Check all that apply.

OQ Contingent
C) Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

QQ Student loans

O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

i Other. Specify COLLECTION

 
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Debtor 4 Nadou Biova

Lawson

 

First Name Middle Name Last Name

Case number (if known)

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

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After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
| MAURY COBB ATTORNEY AT LAW Last 4 digits of account number © 0 0 0 $_ 3,661.00
Nonpriority Creditors Name ,
i 2 08/17/2017
301 BEACON PARKWAY WEST STE 100 When was the debt incurred? T=
see MI@rten As of the date you file, the claim is: Check all that appl
BIRMINGHAM, AL 35209 yom nea ine Claim iss Mee ppv:
City State ZIP Code O) contingent
C) unliquidated
Who incurred the debt? Check one. C) Disputed
Wd Debtor 1 only
CJ Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only () student loans
Atleast one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
U) Check if this claim is for a community debt you did not report as priority claims .
O) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specify COLLECTIONS
C3 No
C2 Yes
NCO FINANCIAL SYSTEMS Last 4 digits of accountnumber 0 O O O- 3 4,007.00
Nonpriority Creditors Name
When was the debt incurred? 02/14/2013
PO BOX 15537 ———
Numb Street
WILMINGTON, DE 19850 As of the date you file, the claim is: Check ail that apply.
City State ZIP Code CQ Contingent
( Unliquidated
Who incurred the debt? Check one. QO Disputed
tf Debtor 1 only
( Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only 2 Student loans
Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
CL) Check if this claim is for a community debt you did not report as priority claims —_
LI) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W@W other. Specity COLLECTION
Cl No
CJ Yes
0000 3 _ 535.00
CHECKMATE Last 4 digits of account number VU Uo UU
Nonpriority Creditors Name
When was the debt incurred? 12/09/2015
PO BOX 35220 _
Number Street
As of the date you file, the claim is: Check all that apply.
PHOENIX, AZ 85069 ¥ tm ise ween een eey
City State ZiP Code C) Contingent
O) unliquidated
Who incurred the debt? Check one. Q] bDisputed
@ Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 7 and Debtor 2 only ©) Student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
U) Check if this claim is fora community debt you did not report as Priority claims .
UO Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Wf Other. Specify COLLECTION
(2 No
QC) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__ of_

 

 

 

 
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Debtor?  Nadou Biova

Lawson

 

First Name Middle Name Last Name.

List All of Your NONPRIORITY Unsecured Claims

Case number (if known),

 

Yes

claims fill out the Continuation Page of Part 2.

3. Do any creditors have nonpriority unsecured claims against you?
C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

 

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.Ilf you have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim
[+_] DIVERSIFIED CONSULTANT Last digits of account number 0 0 0 0. 3111.00
Nonpriority Creditors Name $e a
P O BOX 551268 When was the debt incurred? 07/01/2017
Number Street
JACKSONVILLE, FL 32255
City State ZIP Code As of the date you file, the claim is: Check all that apply.
QQ Contingent
Who incurred the debt? Check one. CQ unliquidated
Debtor 1 only Q) Disputed
C) Debtor 2 only
QO Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
O Atleast one of the debtors and another () student loans
U Check if this claim is for a community debt im) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? LI) Debts to pension or profit-sharing plans, and other similar debts
U1 No W other. Specify COLLECTION
C) Yes
f2 | GEICO Last 4 digits of account number _0 0 0 0 $ 49.00
Nonpriority Creditors Name When was the debt incurred? 01/24/2019
ONE GEICO PLAZA
Number Street
$s of the date you file, the claim is: Check all that apply.
BETHESDA, MD 20811 As of the date you file, the claim i
City State ZIP Code Q Contingent
Who incurred the debt? Check one. QQ unliquidated
i Debtor 1 only O Disputed
(CD Debtor 2 only f NON sane
© Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CI Atleast one of the debtors and another UO Student loans
ae oo. . O) Obligations arising out of a separation agreement or divorce
UO) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? C1 Debts to pension or profit-sharing plans, and other similar debts
C) No & other. Specify COLLECTION
Q) Yes
4.3 PUBLIC SERVICE Last 4 digits of account number _0 0 0 0. 951.00
Nonprionty Creditors Name Wh the debt i a? 02/01/2014 $I
en was the debt incurred?
7055 E EVANS
Number Street (\ 0 RD R9
te Sule SP Gode As of the date you file, the claim is: Check all that apply. .
Who incurred the debt? Check one. WW Contingent
Q) Unliquidated
i Debtor 4 only D pi
isputed
U0 Debtor 2 only
U1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
() Atleast one of the debtors and another
() Student loans
L) Check if this claim is for a community debt () Obligations arising out of a separation agreement or divorce
. : that you did not report as priority claims
2
On claim subject to offset? C Debts to pension or profit-sharing plans, and other similar debts
Q Ve (ef Other. Specify COLLECTION
es
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of

 

 

 
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Debtor 1 Nadou Biova Lawson Case number (if known),
First Name Middle Name Last Name
Eo Your NONPRIORITY Unsecured Claims — Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total. claim

 

 

REVENUE ENTERPRISES

 

 

Nonpriority Creditors Name

PO BOX 441368

 

Number Street

AURORA, CO 80044

 

City State ZIP Code

Who incurred the debt? Check one.

kd Debtor 1 only

C2 Debtor 2 only

(2 Debtor 1 and Debtor 2 only

CJ Atleast one of the debtors and another

UO) Check if this claim is for a community debt

Is the claim subject to offset?

EE

Last 4 digits of account number oO oO oO o-
When was the debt incurred? 02/22/2013

As of the date you file, the claim is: Check all that apply.

Q Contingent
O Unliquidated
C) Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Cj Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

U) Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify COLLECTIONS

 

 

 

 

 

 

 

 

 

No
(i Yes
| T-MOBILE Last 4 digits of account number 0 0 O O- $_1,205.00
Nonpriority Creditors Name
When was the debt incurred? 08/17/2017
PO BOX 660252 a
Numb Street
DALLAS, ™X 75266 As of the date you file, the claim is: Check all that apply.
City State ZIP Code C2 Contingent
OQ Unliquidated
Who incurred the debt? Check one. CJ Disputed
@ Debtor 1 only
C} Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O) Student toans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
LI Check if this claim is for a community debt you did not report as priority claims a
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specity COLLECTION
C) No
U0) Yes
| 0000 $700.00
TCF BANK Last 4 digits of account number VU Uo UU
Nonpriority Creditors Name
When was the debt incurred? 05/09/2015
8085 SOUTH CHESTER ST STE 201 ——
Number Street
. As of the date you file, the claim is: Check all that apply.
ENGLEWOOD, CO 80112 ¥ ex ae et PRY
City State ZIP Code O} Contingent
C) unliquidated
Who incurred the debt? Check one. Q disputed
Wd Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only (2 student loans
Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
Q) Check if this claim is for a community debt you did not report as priority claims a
U2 Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? @ other. Specify COLLECTION
C) No
C) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__of__

 
Case:19-16213-EEB Doc#:2 Filed:07/19/19

Biova Lawson

Last Name

Nadou

First Name

Debtor 4

 

Middle Name

Cr List All of Your NONPRIORITY Unsecured Claims

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Case number (if known),

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3. Do any creditors have nonpriority unsecured claims against you?

CL) No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one

nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

Total claim
[_] UNIVERSAL ACCEPTANCE CORP Last digits of account number_O 0 0 0. 44,660.00
Nonpriority Creditors Name SN
40801 RED CIRCLE DR When was the debt incurred? 04/15/2017
Number Street
MINNETONKA, MN 55343
City State ZIP Code As of the date you file, the claim is: Check all that apply.
QO Contingent
Who incurred the debt? Check one. C) Unliquidated
Debtor 1 only O) Disputed
C) Debtor 2 only
C) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Atleast one of the debtors and another O Student foans
OQ Check if this claim is fora community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts
QO) No WY other. Specify AUTO
OO) Yes
2_| US DEPT OF ED/GLELSI Last 4 digits of account number _0 0 0 0 g___ 46,041.00
Nonpriority Creditors Name When was the debt incurred? 9/01/2011
PO BOX 7860
Number Street
MADISON. WI 53707 As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO Contingent
Who incurred the debt? Check one. C1 unliquidated
i Debtor 1 only Q Disputed
LY Debtor 2 only :
O debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(2 Atleast one of the debtors and another w Student loans
spans wo . QO) Obiigations arising out of a separation agreement or divorce
UO Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? C1 Debts to pension or profit-sharing plans, and other similar debts
UL) No Q) other. Specify
C) Yes
As | WEBBANK/FINGERHUT Last 4 digits of account number 0 0 0 0 427.00
Nonpriority Creditors Name Wh the debt i red? 05/05/2016 $I S
en was the debt incurred?
6250 RIDGEWOOD ROAD
Number Street
SAINT CLOUD, MN 56303 . .
Gy Sas SP Gode As of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. Q Contingent
O Unliquidated
@ Debtor 1 only :
Q Disputed
Q) Debtor 2 only
Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ Atleast one of the debtors and another
C) student ioans
C) Check if this claim is for a community debt (© Obligations arising out of a separation agreement or divorce
id not Ss :
is the claim subject to offset? that you did no report as Priority claims -
UL) Debts to pension or profit-sharing plans, and other similar debts
Q No
C1 other. Specify
C} Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of

 

 

 

 

 

 
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Nadou Biova Lawson

Debtor 1

 

First Name Middle Name Last Name

Case number (if known),

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
VERIZON WIRELESS Last 4 digits of account number 000 0 ¢_ 2,840.00
Nonpriority Creditors Name 04/13/2017

i 2
PO BOX 650051 When was the debt incurred
Number Street
i laim is: .
DALLAS, TX 75265 As of the date you file, the claim is: Check all that apply
City State ZIP Code U2 Contingent
QO) Unliquidated
Who incurred the debt? Check one. ‘a Disputed
bd Debtor 4 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only © student loans
LJ Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
QO Check if this claim is for a community debt you did not report as priority claims _
QO) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specity COLLECTIONS
(3 No
C) Yes
WESTLAKE FINANCIAL SERVI Last 4 digits of account number 0 oO 0. 0 $ 6,427.00
Nonpriority Creditors Name
When was the debt incurred? 12/23/2017
4751 WILSHIRE BLVDSTE 100 en
Number Street
As of the dat file, the claim is: Check all that apply.
LOS ANGELES, CA 90010-3 s of the date you file, the claim is: Check all that apply
City State ZIP Code Q) Contingent
O) unliquidated
Who incurred the debt? Check one. (Disputed
Wf Debtor 1 only
C] Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C student loans
At least one of the debtors and another C Obligations arising out of a separation agreement or divorce that
CI Check if this claim is for a community debt you did not report as priority claims ,
U2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Wf other. Specify AUTO
OQ No ‘
Cl Yes
0000 $ 84.00
NAVY FEDERAL CR UNION Last 4 digits of accountnumber VU VU VU) U
Nonpriority Creditor’s Name
When was the debt incurred? 01/05/2019
PO BOX 3700
Number Street
: As of the date you file, the claim is: Check all that apply.
MERRIFIELD, VA 22119 ” eee ERY
City State ZIP Code Q) Contingent
. Q Unliquidated
Who incurred the debt? Check one. Q) bisputed
of Debtor 1 only
(3 Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C1 Student loans
At least one of the debtors and another CJ Obligations arising out of a separation agreement or divorce that
(J Check if this claim is for a community debt you did not report as priority claims .
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? © other. Specify COLLECTION
UC) No
C) Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__ of__

 

 

 
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Debtor1  Nadou Biova Lawson

 

First Name Middie Name Last Name

ra List All of Your NONPRIORITY Unsecured Claims

Case number (if known),

 

Yes

claims fill out the Continuation Page of Part 2.

3. Do any creditors have nonpriority unsecured claims against you?
L] No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

 

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

 

 

 

 

Total claim
bs | WAKEFIELD ASSOCIATES Last 4 digits of account number _0 oO 0 Oo 1.563.00
Nonpriority Creditors Name SNS
830 E PLATTE AVE STE A PO BOX 58 When was the debt incurred? 05/04/2076
Number Street
FORT MORGAN, CO 80701
City State ZIP Code As of the date you file, the claim is: Check all that apply.
O Contingent
Who incurred the debt? Check one. (2 unliquidated
1 Debtor 1 only QI Disputed
QO) Debtor 2 only
O) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
() Atleast one of the debtors and another OQ] Student toans
O Check if this claim is fora community debt QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (2 Debts to pension or profit-sharing plans, and other similar debts
UO) No @& other. Specify COLLECTION
C} Yes
2 | BUDGET CONTROL SERVICES Last 4 digits of account number _0 0 0 0 $ 306.00
Nonpriority Creditors Name When was the debt incurred? 02/13/2017 .
PO BOX 370107
Number Street
DENVER, CO 80237 As of the date you file, the claim is: Check all that apply.
?
City State ZIP Code QO Contingent
Who incurred the debt? Check one. Q) Unliquidated
4 Debtor 4 only Q) Disputed
CY Debtor 2 only .
(2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(2 Atleast one of the debtors and another QI Student loans
eae , . QO Obligations arising out of a separation agreement or divorce
C] Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? C) Debts to pension or profit-sharing plans, and other similar debts
QO) No WF other. Specify COLLECTION
Cl Yes
43 | DENVER HEALTH Last 4 digits of account number 0 0 0 0 292.00
Nonbrionty Creditors Name When was the debt incurred? 03/18/2018 ‘
777 BANNOCK STREET :
Number Street
DENVER, CO 80204 . a
City Slate TP Code As of the date you file, the claim is: Check all that apply.
Who incurred the debt? Check one. O Contingent
C) unliquidated
lf Debtor 1 only .
O Disputed
LI Debtor 2 only
U1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
CY Atleast one of the debtors and another
(J Student loans
CQ Check if this claim is for a community debt C1 Obligations arising out of a separation agreement or divorce
. . that you did not report as priority claims
fiset?
Is the claim subject to offse CJ Debts to pension or profit-sharing plans, and other similar debts
(2 No
(oY Other. Specify COLLECTION
Cl Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page__of__

 

 

 
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Debtor1  Nadou Biova

Lawson

 

First Name Middle Name Last Name

Case number (if known),

Your NONPRIORITY Unsecured Claims — Continuation Page

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Who incurred the debt? Check one.

Debtor 4 only

U2 Debtor 2 only

() Debtor 1 and Debtor 2 only

Q) Atleast one of the debtors and another

CJ] Check if this claim is for a community debt

Is the claim subject to offset?

CI No
QO) Yes

 

Official Form 106E/F

Q) Unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

J Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify. LOAN

Schedule E/F: Creditors Who Have Unsecured Claims

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
AT&T ‘Last 4 digits of account number OO 0. 0. O. $ 800.00
Nonpriority Creditors Name 02/4 2/201 5

i ?
PO BOX 5014 When was the debt incurred?
Number Street . ea
CAROL STREAM, IL 60197 As of the date you file, the claim is: Check all that apply.
City State ZIP Code LD Contingent
2) unliquidated
Who incurred the debt? Check one. OQ) disputed
@ Debtor 1 only .
QO) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only © Student loans
At least one of the debtors and another ©) Obtigations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims
( Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specity COLLECTIONS
QO) No
QO) Yes
| ACE CASH EXPRESS Last 4 digits of account number O O O O- g 700.00
Nonpriority Creditors Name :
When was the debt incurred?
901 E COLFAX AVE °
Numb Street
DENVER, CO 80010 As of the date you file, the claim is: Check all that apply.
City State ZIP Code C) Contingent
Q) Unliquidated
Who incurred the debt? Check one. C) disputed
td Debtor 4 only
UO Debtor 2 only Type of NONPRIORITY unsecured claim:
LU) Debtor 4 and Debtor 2 only © Student loans
C1 Atleast oie of the debtors and another C1] Obligations arising out of a separation agreement or divorce that
(J Check if this claim is for a community debt you did not report as priority claims .
Q) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? WF other. Specify LOAN
LU No
U Yes
' s___ 700.00
MONEY TREE Last 4 digits of account number 0 0 0 0
Nonpriority Creditors Name
When was the debt incurred?
10305 E COLFAX AVE
Number Street
As of the date you file, the claim is: Check all that apply.
DENVER, CO 80010 ” eer ana app
City State ZIP Code U2 Contingent

page__of_

 
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Debtor 4 Nadou Biova Lawson

 

First Name Middie Name Last Name

| Part 2: List All of Your NONPRIORITY Unsecured Claims

Case number (if known),

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

3. Do any creditors have nonpriority unsecured claims against you?
L) No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.
| Total claim
b+ | CHECKMATE Last 4 digits of account number _0 0 oO 0 700.00
Nonpriority Creditor's Name SN
14601 E COLFAX AVE B When was the debt incurred?
Number Street
14601 E COLFAX AVE B
City State ZIP Code As of the date you file, the claim is: Check all that apply.
O Contingent
Who incurred the debt? Check one. U2 Unliquidated
Debtor 1 only LI Disputed
C) Debtor 2 only
(J Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(C) Atleast one of the debtors and another O Student loans
QO) Check if this claim is fora community debt Q) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (2 Debts to pension or profit-sharing plans, and other similar debts
Q No & other. Specify LOAN
Q) Yes
4.2 | LOAN STOP Last 4 digits of account number _0 0 0 0 s______—700.00°
Nonpriority Creditors Name When was the debt incurred?
1390 S COLORADO BLVD
Number Street
DENVER. CO 80222 As of the date you file, the claim is: Check all that apply.
a
City State ZIP Code QO Contingent
Who incurred the debt? Check one. C1 unliquidated
CI Debtor 1 only O Disputed
C2 Debtor 2 only .
(2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Atleast one of the debtors and another C2 Student loans
eae —, . C Obligations arising out of a separation agreement or divorce
CI Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? QJ Debts to pension or profit-sharing plans, and other similar debts
C1 No C) Other. Specify LOAN
QO) Yes
43_| SPEEDY CASH DENVER Last 4 digits of account number __0 _0 _0 _0 700.00
Nonpriority Creditors Name Wh the debt i 4? $s
en was the debt incurred?
6501 E EVANS AVE
Number Street
DENVER, CO 80224 . bes
City Sule FP Code As of the date you file, the claim is: Check all that apply.
Q) Conti
Who incurred the debt? Check one. ontingent
Q Unliquidated
if Debtor 1 only .
Q) Disputed
C2 Debtor 2 only
Cd Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another
Q) Student loans
CQ] Check if this claim is for a community debt (J Obligations arising out of a separation agreement or divorce
: . that you did not report as priority claims
2
On claim subject to offset? U2 Debis to pension or profit-sharing plans, and other similar debts
No WY Other. Specify LOAN
QO) Yes
Schedule E/F: Creditors Who Have Unsecured Claims page__of__

 
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Nadou Biova Lawson

Debtor 1

 

First Name Middle Name Last Name

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

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Case number (if known).

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
| PERFECT TEETH Last 4 digits of account number 0 oO. Oo 0. $ 350.00
Nonpriority Creditor's Name
i 2
7150 LEETSDALE DR UNIT 110A When was the debt incurred?
ER ee As of the date you file, the claim is: Check all that appl
DENVER, CO 80224 s of the y , aim is: Check all that apply.
City State ZIP Code C} Contingent
C) unliquidated
Who incurred the debt? Check one. OQ bisputed
@ Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
YP!
5 Debtor 1 and Debtor 2 only CO student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
LI Check if this claim is for a community debt you did not report as priority claims
(2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W other. Specify COLLECTIONS
OG No
C) Yes
INTERSTATE AUTO GROUP /CAR HOP Last 4 digits of account number oO Oo oO OO $ 1,500.00
Nonpriority Creditors Name
When was the debt incurred?
658 S HAVANA STREET
Number Street As of the date you file, the claim is: Check all that appi
, : Chee apply.
AURORA, CO 80012 ” Pay
City State ZIP Cade QO Contingent
Q Unliquidated
Who incurred the debt? Check one. ©) disputed
tf Debtor 4 only
CQ Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only Q Student loans
Atleast one of the debtors and another CJ Obligations arising out of a separation agreement or divorce that
( Check if this claim is for a community debt you did not report as priority claims
C) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Wf other. Specify LOAN
C] No
OC) Yes
Last 4 digits of account number 0 0 O 0 540,000.00
OFFICE OF EDUCATION STUDENT LOAN PROGR >
Nonpriority Creditors Name
, When was the debt incurred?
50 UNITED NATION'S PLAZA omnes
Number Street As of the date you file, the claim is: Check all that appl
’ : Chec’ .
SAN FRANCISCO, CA 94102 y oe aeeY
City State ZIP Code O Contingent
Q) unliquidated
Who incurred the debt? Check one. 0 Disputed
bf Debtor 1 only
LJ Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only Ww Student loans
At least one of the debtors and another CQ Obligations arising out of a separation agreement or divorce that
UI Check if this claim is for a community debt you did not report as priority claims
(3 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? C) Other. Specify
Q) No
LY Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _of__

 

 
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Debtor1 | Nadou Biova Lawson

First Name Middle Name Last Name

Case number (ifAnown),

 

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

 

3. Do any creditors have nonpriority unsecured claims against you?

Yes

claims fill out the Continuation Page of Part 2.

| RESURGENT CAPITAL SERVICES

 

Nonpriority Creditors Name

PO BOX 10587

 

Number Street

GREENVILLE, SC 29603

 

City State ZIP Code

Who incurred the debt? Check one.
Debtor 1 only

C2 Debtor 2 only

Q) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
Q) No
(J Yes

LI No. You have nothing to report in this part. Submit this form to the court with your other schedules.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

Total claim

s_a2d0-6

Last 4 digits of account number _O. oO O 0

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

OQ Contingent
Q) Unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts

& other. Specify Collection

 

2 | MISTER CASH

 

Nonpriority Creditors Name

8800 WASHINGTON STREET

 

 

Number Street
DENVER, CO 80229
City State ZIP Code

Who incurred the debt? Check one.

© Debtor 1 only

L) Debtor 2 only

C) Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

LJ Check if this claim is for a community debt

Is the claim subject to offset?
( No
Q) Yes

Last 4 digits of account number _0 0 0 0
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

OQ Contingent
O unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

UJ Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify Collection

 

+3 | QWEST CORP DBA CENTURY LINK

Nonpriority Creditors Name

931 14 STREET STE 900

 

 

Number Street
DENVER, CO 80202
City State ZIP Code

Who incurred the debt? Check one.

ff Debtor 4 only

Q) Debtor 2 only

Q] Debtor 1 and Debtor 2 only

LI Atleast one of the debtors and another

U) Check if this claim is for a community debt

Is the claim subject to offset?
Q) No
C) Yes

 

Official Form 106E/F

Last 4 digits of account number 0 0 0 0

When was the debt incurred?

s4OD.0O

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q Unliquidated
U Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Cl Debts to pension or profit-sharing plans, and other similar debts
(i Other. Specity_Collection

Schedule E/F: Creditors Who Have Unsecured Claims page of__

 
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Debtor 1 Nadou Biova

First Name Middie Name Last Name

Lawson

Case number (if known).

Ee Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

SYNCHRONY BANK C/O PRA RECIEVABLES

Nonpriority Creditor’s Name

PO BOX 41021

 

 

 

Number Street
NORFOLK, VA 23541
City State ZIP Code

Who incurred the debt? Check one.

Wd Debtor 1 only

C} Debtor 2 only

(J Debtor 1 and Debtor 2 only

C] Atleast one of the debtors and another

CD Check if this claim is for a community debt

Is the claim subject to offset?

UI No
O Yes

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Last 4 digits of account number 0 Oo 0] O-
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent
(2 Unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

LJ Student loans

QQ) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts
W other. Specity_ Collection

Total claim

4

5 200 O1D

 

VERIZON WIRELESS

Nonpriority Creditor’s Name

PO BOX 248838

 

 

Number Street
OKLAHOMA CITY, OK 73124
City State ZIP Code

Who incurred the debt? Check one.

id Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

CU) Atleast one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?

CQ No
Q) Yes

Last 4 digits of account number 0. Oo. Oo. oO
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

OQ Contingent
a Unliquidated
Cl] Disputed

Type of NONPRIORITY unsecured claim:

L} Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

U2 Debts to pension or profit-sharing plans, and other similar debts

@f other. Specify Collection

 

NPRTO WEST

Nonpriority Creditors Name

256 WEST DATA DRIVE

 

 

Number Street
DRAPER, UT 84020
City State ZIP Code

Who incurred the debt? Check one.

ed Debtor 1 only

L) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

LJ Check if this claim is for a community debt

Is the claim subject to offset?

UL) No
O) Yes

 

Official Form 106E/F

Last 4 digits of account number 0 0 0. 0.
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
C) Unliquidated
YQ Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts
@ Other. Specify Collection

Schedule E/F: Creditors Who Have Unsecured Claims

3 200.00)

 

page. _ of.
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11

Biova Lawson

Last Name

Nadou

First Name

Debtor 1
Middle Name

| Part 2: | List All of Your NONPRIORITY Unsecured Claims

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Case number (known)

 

3. Do any creditors have nonpriority unsecured claims against you?

Yes

claims fill out the Continuation Page of Part 2.

k1_] PROGRESSIVE INSURANCE COMPANY

Nonpriority Creditors Name

6300 WILSON MILLS RD

Number Street

CLEVELAND, OH 44143
City

 

 

State ZIP Code

Who incurred the debt? Check one.
4 Debtor 1 only
U) Debtor 2 only

CY Debtor 1 and Debtor 2 only
(C) Atleast one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?
OQ No
C] Yes

EL] No. You have nothing to report in this part. Submit this form to the court with your other schedules.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim itis. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

Total claim

Last 4 digits of account number _O- 0 0 0 $ ¢

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
LU) Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
C] Debts to pension or profit-sharing plans, and other similar debts

© other. Specify collection

 

ROSE MED CTR/ RESURANT CAPITAL SERVICES

Nonpriority Creditors Name

 

 

 

Last 4 digits of account number _0 0 0 0
When was the debt incurred?

SI OO.01-%

 

 

 

 

 

Who incurred the debt? Check one.

Wd Debtor 4 only

LJ Debtor 2 only

(2 Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

(0 Check if this claim is for a community debt

Is the claim subject to offset?
LI No
C) Yes

 

Official Form 106E/F

PO BOX 1927
Number Street
GREENVILLE, SC 29602 As of the date you file, the claim is: Check ail that apply.
City State ZIP Code Q Contingent
Who incurred the debt? Check one. CD unliquidated
i Debtor 4 only Q) Disputed
LD Debtor 2 only .
2 Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C2 Atleast one of the debtors and another C1 Student loans
ease -. . Q) Obligations arising out of a separation agreement or divorce
O Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? U1 Debts to pension or profit-sharing plans, and other similar debts
QO) No O other. Specity Collection
QO) Yes
ks | JEFFERSON CAPITAL SYSTEMS Last 4 digits of account number _0_0 0 0 Ta /) )) / 5
Nonpriority Creditors Name Wh the debt i 4? $¢ ‘
en was the debt incurred?
PO BOX 7999
Number Street
sant CLOUD, MN 56302 Slate TP Gode As of the date you file, the claim is: Check all that apply.

Schedule E/F: Creditors Who Have Unsecured Claims

Q Contingent
() unliquidated
C) Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

O other. Specify Collection

 

page of_

 
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page55 of 71

Debtor?  Nadou Biova

Lawson

 

First Name Middle Name Last Name

Case number (known).

Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

AUTOVEST

Nonpriority Creditor's Name

PO BOX 2247
Number Street

SOUTHFIELD, MI 48037

 

 

City State ZIP Code

Who incurred the debt? Check one.

if Debtor 1 only

UI Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(CQ Atleast one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

Ci No
CO) ves

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Last 4 digits of account number 0 0 O- 0.
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
UI Unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(CQ Debts to pension or profit-sharing plans, and other similar debts
@ other. Specity_ Collection

Total claim

3200 10D

 

AMERICAN HONDA FINANCE

 

Nonpriority Creditors Name

3625 WEST ROYAL LANE

Number Street

IRVING, TX 75063

 

City State ZIP Code

Who incurred the debt? Check one.

@ Debtor 1 only

C) Debtor 2 only

L) Debtor 1 and Debtor 2 only

(Cd Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

C1 No
C) Yes

Last 4 digits of account number O. oO Oo 0
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
Q Unliquidated
| Disputed

Type of NONPRIORITY unsecured claim:

C2 Student loans

() Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify Collection

200.00)

 

 

Nonpriority Creditor's Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

LQ Debtor 4 only

U) Debtor 2 only

C) Debtor 1 and Debtor 2 only

O) Atleast one of the debtors and another

LU Check if this claim is for a community debt

Is the claim subject to offset?

BN
C} Yes

 

Official Form 106E/F

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
C) unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

U2 Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(1 Debts to pension or profit-sharing plans, and other similar debts

CJ other. Specify.

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page56 of 71

Debtor1  Nadou Biova Lawson

 

First Name Middle Name Last Name

eae: Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

Total claims 6a. Domestic support obligations

from Part 4 6b. Taxes and certain other debts you owe the

government

6c. Claims for death or personal injury while you were
intoxicated

6d. Other. Add all other priority unsecured claims.
Write that amount here.

6e. Total. Add lines 6a through 6d.

Total claims 6f. Student loans

from Part 2 6g. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6i. Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

 

 

Official Form 106E/F

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

Gi.

Gj.

Case number (f known),

 

 

 

 

 

 

Total claim
$ 0.00
g __ unknown
$ 0.00
+5 0.00
5 0.00
Total claim
$ 86,041.00
$ 0.00
5 0.00
+5 86,442.00
$ 172,483.00

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page of_

 
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page57 of 71

Fill in this information to identify your case:

Debtor Nadou Biova Lawson

First Name Middle Name Last Name

 

Debtor 2
(Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Colorado

 

Cc b
known) Q) Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

1. Do you have any executory contracts or unexpired leases?
LJ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
Wi Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
2.1 :
“| Aarons Furniture Laptop
Name
15355 E Colfax Ave unit k
Number Street
Aurora, CO 80011
City State ZIP Code
2.2
~~ Name
Number Street
City. . como tate ZIP Code
2.3
Name
Number Street
___City __State ZIP Code
24
' Name
Number Street
City State ZIP Code
2.5
Name
Number Street
City State ZIP Code

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1of____
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page58 of 71

Fill in this information to identify your case:

Debtor 1 Nadou Biova Lawson
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of Colorado

Case number
(if known)

 

 

C) Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/45

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

@ No
L] Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

(4 No. Go to line 3.
LJ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

(4 No

C) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1
(2 Schedule D, line
Name
C] Schedule E/F, line
Number Street LI Schedule G, line
City . . State - ___ZIP Code
3.2
(3 Schedule D, line
Name
() Schedule E/F, line
Number Street CI Schedule G, line
City ~ | State _ ___ZIP Code
3.3
( Schedule D, line
Name
() Schedule E/F, line
Number Street L) Schedule G, line
City . : State . ZIP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1of____

 
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page59 of 71

Fill in this information to identify your case:

Debtor 4 Nadou Biova Lawson

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

District of Colorado

 

United States Bankruptcy Court for the:

Case number Check if this is:

(if known)
LJ An amended filing

L} A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 iat DDT YYW
Schedule I: Your Income 12415

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

| Part 1: Describe Employment

 

 

 

 

4. Fillin your employment

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job,

attach a separate page with

information about aduitional Employment status a Employed O Employed

employers. C) Not employed C) Not employed

Include part-time, seasonal, or

{f-employed work. .
Setremployed wor Warehouse assistant

 

 

 

 

 

 

0 ti
Occupation may include student ecupation
or homemaker, if it applies.
Employer’s name Mckesson Corp
Employer's address 3400 Fraser St,
Number Street Number Street
Aurora, CO CO 80011
City State ZIP Code City State ZIP Code
How long employed there? 8Months 8Months

Cr Give Details About Monthly Income

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. ¢ 3,094.73 $ 0.00
3. Estimate and list monthly overtime pay. 3. +3 0.00 + $ 0.00
4. Calculate gross income. Add line 2 + line 3. 4. $ 3,094.73 g__———0.00

 

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
 

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Debtor 1 Nadou Biova Lawson
First Name Middle Name Last Name
Copy Hine 4 Were... ecceccccssscssssscsssssrecssecsesssssseesusesecssesecsvesseassssssesssesesaseerecsavs > 4.

5. List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d, Required repayments of retirement fund loans
5e. Insurance

5f. Domestic support obligations

5g. Union dues
5h. Other deductions. Specify:

 

@

N

Caiculate total monthly take-home pay. Subtract line 6 from line 4.

8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.

5a.
5b.
5c.
5d.
5e.
5f.

5g.
5h.

8a.
8b.

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

8c.

8d.
8e.

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

8g. Pension or retirement income

 

8h. Other monthly income. Specify:

 

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11.

8f.

8g.

8h.
9.

10.

State all other regular contributions to the expenses that you list in Schedule J.

Case number (if known).

 

 

 

 

 

 

 

 

 

 

 

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

13.Do you expect an increase or decrease within the year after you file this form?

1 No.

For Debtor 1 For Debtor 2 or
pee Non-filing spouse _
¢ 3,094.73 $ 0.00
$ 368.78 $ 0.00
gs 0.00 g_—«d0.00.
$ 0.00 $ 0.00
$ 0.00 $ 0.00
$123.80 $ 0.00
§ 0.00 $ 0.00
$ 0.00 $ 0.00
+ 0.00 +¢ 0.00
¢ 492.58 $ 0.00
¢ 2,602.15 $ 0.00
g__——«0.00 $ 0.00
§ 0.00 $ 0.00
$ 0.00 $ 0.00
$ 0.00 $ 0.00
$0.00 $ 0.00
gs 0.00 $ 0.00
$ 0.00 $ 0.00
+3 0.00 +3 0.00
$ 0.00 $ 0.00
g _2,602.15/4] ¢ 0.00 j= |g 2,602.15
1.# $ 0.00
42 , 2,602.15
Combined

monthly income

 

Q) Yes. Explain:

 

 

 

Official Form 1061

Schedule |: Your Income

page 2

 
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page61 of 71

Fill in this information to identify your case:

Debtor1  Nadou Biova Lawson pate te.
First Name Middle Name Last Name Check if this is:

Debtor 2 CL} An amended filing

(Spouse, if filing) First Name Middle Name Last Name
District of Colorado CL) A supplement showing postpetition chapter 13
expenses as of the following date:

 

 

United States Bankruptcy Court for the:

cree number MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 4245

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

1. Is this a joint case?

 

 

W No. Gotoline 2.
LJ Yes. Does Debtor 2 live in a separate household?

4 No
Q) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2. Do you have dependents? @W No ;
Dependent’s relationship to . Dependent’s Does dependent live
‘ Do not list Debtor 1 and (] Yes. Fill out this information for Debtor 1 or Debtor 2 age | with you?
Debtor 2. each dependent........cccececceee
, | ONO
Do not state the dependents gQ
names. | Yes
OU) No
LI) Yes (
CL) No
O) Yes
LJ No
U) Yes
C2 No
QO) Yes
3. Do your expenses include W No

expenses of people other than O
__ yourself and your dependents? —! Yes_

ae Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
- applicable date.

 

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule |: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and - 5 650.00 .
any rent for the ground or iot. 4.
If not included in line 4:
4a. Real estate taxes 4a $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. § 0.00
4d. Homeowner’s association or condominium dues 4d. § 0.00

Official Form 106J Schedule J: Your Expenses page 1

 
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page62 of 71

 

 

 

 

 

 

 

 

 

Debtor 1 Nadou Biova Lawson Case number (if known),
First Name Middle Name Last Name
Your expenses
5. Additional mortgage payments for your residence, such as home equity ioans 5.
6. Utilities:
6a. Electricity, heat, natural gas 6a. $ 47.50
6b. Water, sewer, garbage collection 6b. §$ 47.50
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. = § 150.00
6d. Other. Specify: 6d. § 0.00
7. Food and housekeeping supplies 7. $ 300.00
_ 8, Childcare and children’s education costs 8 og 0.00
9. Clothing, laundry, and dry cleaning 9. $ 40.00
10. Personal care products and services 10. $ 100.00
44, Medical and dental expenses WwW.  § 0.00
12. Transportation. Include gas, maintenance, bus or train fare. $ 480.00
Do not include car payments. 12. ee
13, Entertainment, clubs, recreation, newspapers, magazines, and books 43. $ 0.00
14. Charitable contributions and religious donations 14. 0.00
15. Insurance.
: Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a.  § 0.00
15b. Health insurance 15b.  §$ 0.00
15c. Vehicle insurance 150. § 180.00
15d. Other insurance. Specify: 15d. § 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: «68 C~S0
.17. Installment or lease payments:
: 47a, Car payments for Vehicle 1 17a. § 500.00
17b. Car payments for Vehicle 2 17b.  §. 0.00
17c. Other. Specify, Lease Agreement 170, § 147.00
17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your Income (Official Form 106l). 18. 5 0.00
19. Other payments you make to support others who do not live with you.
Specify: 19. $ 0.00
“20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your Income.
20a. Mortgages on other property 20a. §. 0.00
20b. Real estate taxes 20b. $ 0.00
20c. Property, homeowner’s, or renter’s insurance 20c. § 0.00
20d. Maintenance, repair, and upkeep expenses 20d. § 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00

Official Form 106J Schedule J: Your Expenses . page 2
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page63 of 71

 

 

 

 

Debtor 1 Nadou Biova Lawson Case number (if known),
First Name Middle Name Last Name
21. Other. Specify: 21. +S 0.00
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. | g 2,342.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $ 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. $ 2,342.00

 

 

 

23. Calculate your monthly net income.

 

2,602.15
23a. Copy line 12 (your combined monthly income) from Schedule 1. 23a. $__ «ie. "*-
23b. Copy your monthly expenses from line 22c above. 23d. —¢ 2,342.00
23c. Subtract your monthly expenses from your monthly income. 260.15

The result is your monthly net income. 230. $___

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

ee
Q) Yes. | Explain here:

Official Form 106J Schedule J: Your Expenses page 3
Case:19-16213-EEB Doc#:2 Filed:07/19/19 Entered:07/19/19 16:16:11 Page64 of 71

Fill in this information to identify your case:

 

 

 

Debtor 1 Nadou Biova Lawson
First Name Middie Name Last Name

Debtor 2

(Spouse, ff filing) First Name Middte Name Last Name

United States Bankruptcy Court for the: District of Colorado

Case number
(If known)

 

CI Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

LJ No
W Yes. Name of person Distinct Document/Monique Isreal Houston attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

 

Under penalty of perjury, | declare that | have read the summary and schedules filed with this dectaration and
that they are true and correct.

ade

 

 

V
Signature of Debtor 1 Signature of Debtor 2
Date 06/26/2019 Date

MM/ DD / YYYY MM/ DD / YYYY

 

 

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules

 
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UNITED STATES BANKRUPTCY COURT

District of Colorado

IN RE Lawson, Nadou Biova CASE NO

 

 

DEBTOR(S) CHAPTER
VERIFICATION OF CREDITOR MATRIX

The above named Debtor(s) hereby verifies that the attached matrix list of creditors is true
and correct to the best of our knowledge.

Date: 06/26/2019

 

 

 

Debtor
Lawson, Nadou Biova

 

Joint Debtor
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Cover Sheet for Petition
L.B.F. 1002-1.1

CHECK APPLICABLE BOXES TO SHOW ALL DOCUMENTS ATTACHED

 

Name of debtor(s): [ | Attorney (firm name, address, telephone, and
registration number):

Lawson, Nadou Biova ;
[x] No attorney (“pro se”)(home address, telephone):

 

 

 

Filing fee (revised per directive of the Judicial Conference of the United States):

 

[] $335 for chapter 7

[ ] $1,717 for chapter 11

[] $275 for chapter 12

[] $310 for chapter 13

Ix] Other fee paid: $ Installment Enter amount AND attach applicable application under FED.
R. BANKR. P. 1006 to pay in installments or pursuant to 28 U.S.C. § 1930(f) (if applicable).

 

 

Individual and business debtor(s) (except as otherwise noted):

 

 

[IX] Voluntary Petition for Individuals Filing for Bankruptcy, Official Form 101, or Voluntary
Petition for Non-Individuals Filing for Bankruptcy, Official Form 201

Xx] Your Statement of Financial Affairs for Individuals Filing for Bankruptcy, Official Form
107, or Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy, Official
Form 207

x] Summary of Your Assets and Liabilities and Certain Statistical Information , Official Form
106Sum, or Summary of Assets and Liabilities for Non-Individuals, Official Form 206Sum

x] Schedules A—J — Official Forms 106A/B, 106C, 106D, 106E/F, 106G, 106H, 1061 and
106J for Individuals, or Official Forms 206A/B, 106D, 106E/F, 106G, 106H, 1061 and
106J for Non-Individuals

Ix] Declaration About an Individual Debtor’s Schedules, Official Form 106Dec, or
Declaration Under Penalty of Perjury for Non-Individual Debtors, Official Form 202

Xx] Bankruptcy Petition Preparer’s Notice, Declaration, and Signature, Official Form 119,
(submitted only if debtor(s) used the services of a bankruptcy petition preparer)

IX] For each individual debtor, copies of all payment advices, paycheck stubs, or other
evidence of all salary, commissions or income received within 60 days before the
bankruptcy case was filed, copied on 8 % by 11 paper with the debtor’s first and last name
printed on top of each page (and bankruptcy case number, if a number has been assigned);
OR, as applicable, complete L.B. Form 1007-6.1 (“Statement Under Penalty of Perjury
Concerning Payment Advices”) for each debtor.

[ ] A record of any interest in an education individual retirement account (“IRA”) (26 U.S.C.
§ 530(b)(1)) or qualified state tuition program (26 U.S.C. § 529(b)(1) plans).

 

 
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[ ] Attorney's Disclosure of Compensation — Director’s Form 203 (Form 2030)
Xx] Verification of Creditors’ Matrix — L.B. Form 1007-2.1
[X] Creditors’ Matrix (see L.B.R. 1007-2 and L.B.R. 1007-2App. for instructions).

 

Additional items due from ALL individual debtors:

 

[X] Statement About Your Social Security Numbers — Official Form 121

Chapter 7 individual debtors also must file:
[x] Applicable Statements of Current Monthly Income and Means Test Calculation
Forms: Chapter 7 Statement of Your Current Monthly Income, Official Form
122A-1, Statement of Exemption from Presumption of Abuse Under § 707(b)(2),
Official Form 122A-1Supp, and/or Chapter 7 Means Test Calculation, Official
122A-2*
[xl Statement of Intention for Individuals Filing Under Chapter 7, Official Form 108
(due thirty days post-petition) (the failure to comply with this statement and file
reaffirmation agreements or motions to redeem personal property that the debtor
does not intend to surrender has ramifications 45 days after the first scheduled
meeting of creditors under 11 U.S.C. § 362(h) of the Bankruptcy Code)
Chapter 11 individual debtors also must file:
[ ] Chapter 11 Statement of Your Current Monthly Income, Official Form 122B
Chapter 13 individual debtors also must file:
[ ] Applicable Statements of Current Monthly Income and Calculation of Commitment
Period: Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period, Official Form 122C-1 and Chapter 13 Calculation of Your
Disposable Income, Official Form 122C-2*
[ ] Chapter 13 Plan, L.B. Form 3015.1.1

 

 

 

 

*The links for the updated Internal Revenue Service and Census Bureau Information that may be needed to
complete these forms can be reached from the web site: http://www.usdoj.gov/ust/.

 

Additional items due from chapter 11 debtors:

 

[ ] For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims Against You and Are Not Insiders, Official Form 104

[ ] Corporate Ownership Statement as required by FED. R BANKR. P. 1007(a)(1) for
corporations, L.B. Form 1007-4.1.

[ ] List of Equity Interest Holders as required by FED. R. BANKR. P. 1007(a)(3) for
corporations, L.B. Form 1007-4.2.

[ ] Small business debtors must file the most recent 1) balance sheet, 2) statements of
operations, 3) cash-flow statement and 4) federal income tax return; OR a verified
statement that those documents do not exist and have not been prepared or filed.

[ ]_ Disclosure Regarding Receivers Bankruptcy Form 1007-7.1.

 

 

 

Date: Printed name of party signing: Signature of attorney (or debtor without

counsel): i
06/26/2019 Lawson, Nadou Biova ) omg

 

 

 

 

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